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 6

 7                           IN THE UNITED STATES DISTRICT COURT

 8                                    EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,                        CASE NO. 1:08-CR-00212-AWI
10
                                        Plaintiff,    FINAL JUDGMENT OF FORFEITURE
11
                                 v.
12
     HARJEET MANN,
13   JASDEVE SINGH,
     GURMEET SINGH BISLA, and
14   SUKHRAJ DHALIWAL,

15                                      Defendants.

16

17          WHEREAS, on September 4, 2009, this Court entered a Preliminary Order of

18 Forfeiture pursuant to the provisions of 21 U.S.C. § 853, based upon the memorandum for

19 entry of plea entered between plaintiff and defendant Jasdev Singh and based upon the

20 Court’s findings of fact and conclusions of law as well as evidence entered at the jury trial

21 of defendant Harjeet Mann, Gurmeet Singh Bisla, and Sukhraj Dhaliwal; defendant

22 Harjeet Mann, Jasdev Singh, Gurmeet Singh Bisla, and Sukhraj Dhaliwal shall forfeit to

23 the United States the following property:

24                 a) Approximately $169,910.00 in United States Currency seized on or about
                      March 26, 2009;
25
                   b) Approximately $101,763.70 in United Sates Currency seized on or about
26                    June 26, 2008;
27                 c) Approximately $739,394.00 in United States Currency seized on or about
                      June 20, 2008.
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     FINAL ORDER OF FORFEITURE
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 1             AND WHEREAS, Beginning September 10, 2009, for at least 30 consecutive

 2 days, the United States published notice of the Court’s Order of Forfeiture on the official

 3 internet government forfeiture site www.forfeiture.gov. Said published notice advised all

 4 third parties of their right to petition the Court within sixty (60) days from the first day of

 5 publication of the notice for a hearing to adjudicate the validity of their alleged legal

 6 interest in the forfeited property.

 7         AND WHEREAS, the Court has been advised that no third party has filed a claim

 8 to the subject property and the time for any person or entity to file a claim has expired.

 9         Accordingly, it is hereby ORDERED and ADJUDGED:

10             1. A Final Order of Forfeiture shall be entered forfeiting to the United States of

11 America all right, title, and interest in the above-listed property pursuant to 21 U.S.C. §

12 853 and Fed. R. Crim. P. 32.2(b)(1), to be disposed of according to law, including all right,

13 title, and interest of defendants Harjeeet Mann, Jasdev Singh, Gurmeet Singh Bisla, and

14 Sukhraj Dhaliwal.

15             2. All right, title, and interest in the above-listed property shall vest solely in

16 the name of the United States of America.

17             3. The United Sates Marshals Service shall maintain custody of and control

18 over the subject property until it is disposed of according to law.

19
     IT IS SO ORDERED.
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21 Dated: December 6, 2013
                                             SENIOR DISTRICT JUDGE
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      FINAL ORDER OF FORFEITURE                     2
